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                    EXHIBIT
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                                     @              UNITED STATES DEPARTMENT OF COMMERCE
                                                    The Secretary of Commerce
                                                    Washington , D.C. 20230



April 26, 2021



The President
The White House
Washington, DC 20500

Dear Mr. President:

        In accordance with the provisions of Title 13, United States Code, Section 14l(b), I am
transmitting the statement showing the apportionment population for each of the 50 states on
April 1, 2020, as ascertained by the Twenty-Fourth Decennial Census of the United States.

       The enclosed table shows the apportionment population for each state, the number of
Representatives to which each state is entitled based on the apportionment population, and the
change (if any) since the 2010 Census in the number of Representatives for each state. The
population of the District of Columbia is not included in the apportionment population.

        The United States Census Bureau prepared these calculations using the existing size of
the U.S. House of Representatives (435 members) and the Method of Equal Proportions, as
provided for in Title 2, United States Code, Section 2a, enacted in 1929 and thereafter amended,
as well as Title 2, United States Code, Section 2b, enacted in 1941 . Under Section 2a, you are to
send this information to the 117th Congress.




Enclosure
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U.S. Department of Commerce
U.S. Census Bureau

APPORTIONMENT POPULATION AND NUMBER OF REPRESENTATIVES BY STATE: 2020 CENSUS


                                                                                        NUMBER OF
                                                                                      APPORTIONED
                                                         APPORTIONMENT             REPRESENTATIVES                  CHANGE FROM
                                                             POPULATION                   BASED ON                   2010 CENSUS
STATE                                                      (APRIL 1, 2020)               2020 CENSUS 2            APPORTIONMENT


Alabama                                                            5,030 ,053                           7                            0
Alaska                                                               736,081                            1                            0
Arizona                                                            7,158,923                           9                             0
Arkansas                                                           3,013 ,756                          4                             0
California                                                       39,576 ,757                          52                            -1
Colorado                                                           5,782,171                           8                             1
Connecticut                                                        3,608,298                           5                             0
Delaware                                                             990,837                            1                            0
Florida                                                          21 ,570,527                          28                             1
Georgia                                                           10,725 ,274                         14                             0
Hawaii                                                             1,460,137                           2                             0
Idaho                                                              1,841 ,377                          2                             0
Illinois                                                          12,822,739                          17                            -1
Indiana                                                            6,790,280                           9                             0
Iowa                                                               3,192,406                           4                             0
Kansas                                                             2,940 ,865                          4                             0
Kentucky                                                           4,509,342                           6                             0
Louisiana                                                          4,661,468                           6                             0
Maine                                                              1,363 ,582                          2                             0
Maryland                                                           6,185,278                           8                             0
Massachusetts                                                      7,033,469                           9                             0
Michigan                                                         10,084,442                           13                           -1
Minnesota                                                          5,709,752                           8                             0
Mississippi                                                        2,963 ,914                          4                             0
Missouri                                                           6,160,281                           8                             0
Montana                                                            1,085,407                           2                             1
Nebraska                                                           1,963,333                           3                             0
Nevada                                                             3,108,462                           4                             0
New Hampshire                                                      1,379,089                           2                             0
New Jersey                                                         9,294 ,493                         12                             0
New Mexico                                                         2,120,220                           3                             0
New York                                                         20,215,751                           26                           -1
North Carolina                                                   10,453,948                           14                             1
North Dakota                                                         779,702                           1                             0
Ohio                                                             11 ,808 ,848                         15                           -1
Oklahoma                                                           3,963,516                           5                             0
Oregon                                                             4,241 ,500                          6                             1
Pennsylvania                                                     13,011,844                           17                           -1
Rhode Island                                                       1,098,163                           2                             0
South Carolina                                                     5,124,712                           7                             0
South Dakota                                                         887,770                           1                             0
Tennessee                                                          6,916,897                           9                             0
Texas                                                            29,183,290                           38                             2
Utah                                                               3,275,252                           4                             0
Vermont                                                              643,503                           1                             0
Virginia                                                           8,654 ,542                         11                             0
Washington                                                         7,715,946                          10                             0
West Virginia                                                      1,795,045                           2                           -1
Wisconsin                                                          5,897,473                           8                             0
Wyoming                                                              577,719                           1                             0
                               1
TOTAL APPORTIONMENT POPULATION                                  331 ,1 08,434                        435
  1
   Includes the resident population for the 50 states , as ascertained by the Twenty-Fourth Decenn ial Census under Title 13, United
States Code, and counts of U.S. military and federal civilian employees living overseas (and their dependents living with them
overseas) allocated to their home state , as reported by the employing federal agencies. The apportionment population excludes the
population of the District of Columbia. The counts of overseas personnel (and dependents) are used for apportionment purposes only.
      2
    The U.S. Census Bureau prepared these calculations using the existing size of the U.S. House of Representatives (435 members)
and the Method of Equal Proportions, as provided for in Title 2, United States Code, Sections 2a and 2b.
